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                                  5                           IN THE UNITED STATES DISTRICT COURT

                                  6                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

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                                  8      GREENPEACE, INC.,                             Case No. 21-cv-00754-MMC
                                  9                   Plaintiff,                       ORDER DENYING AS MOOT
                                                                                       DEFENDANT'S MOTION TO DISMISS
                                  10            v.

                                  11     WALMART INC.,
                                  12                  Defendant.
Northern District of California
 United States District Court




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                                  14          Before the Court is defendant Walmart Inc.'s Motion, filed November 10, 2021, "to

                                  15   Dismiss the Second Amended Complaint." On February 18, 2022, plaintiff Greenpeace,

                                  16   Inc. filed, with leave of court, a Third Amended Complaint.

                                  17          "[A]n amended pleading supersedes the original, the latter being treated thereafter

                                  18   as non-existent." Bullen v. De Bretteville, 239 F.2d 824, 833 (9th Cir. 1956), cert. denied,

                                  19   353 U.S. 947 (1957).

                                  20          Accordingly, defendant's motion to dismiss the Second Amended Complaint is

                                  21   hereby DENIED as moot.

                                  22          IT IS SO ORDERED.

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                                  24   Dated: February 22, 2022
                                                                                               MAXINE M. CHESNEY
                                  25                                                           United States District Judge
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